Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 1 of 27 PagelD: 1

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Attorneys for Plaintiffs, Jean Picone and Joseph Picone

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEAN PICONE and JOSEPH PICONE, husband ; CIVIL ACTION NO.:
and wife,

Plaintiffs, ' CIVIL ACTION

ba

 

Honorable
BEY LEA VILLAGE CARE CENTER; 1351
OLD FREEHOLD OPERATIONS LLC;
HOLDINGS LLC GENESIS NJ; ARNOLD : COMPLAINT, JURY DEMAND,
WHITMAN; STEVEN FISHMAN, JOHN ‘ DESIGNATION OF TRIAL COUNSEL,
DOE(S) 1-10, fictitious persons; ABC CORP(S) | CERTIFICATION PURSUANT TO LOCAL
1-10, fictitious entities; ARISTACARE AT : RULE 11.2
MANCHESTER; ARISTACARE AT
MANCHESTER, LLC; BENJAMIN
KURLAND; MORRIS WIESEL; SIDNEY
GREENBERGER; ZVI KLEIN; JOHN DOE(S)
11-20, fictitious persons; ABC CORP(S) 11-20,
fictitious entities; OCEAN MEDICAL
CENTER; MERIDIAN HEALTH;
HACKENSACK MERIDIAN HEALTH; JOHN :
DOE(S) 21-30; fictitious persons; and ABC
CORP(S) 21-30, fictitious entities,

Defendants.

 

JURISDICTION AND VENUE

1. Jurisdiction is founded on Title 28, United States Code Section 1331.
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 2 of 27 PagelD: 2

2. The amount in controversy is unliquidated, but is in excess of Seventy Five
Thousand Dollars ($75,000.00), exclusive of interest and costs.

3. Plaintiff further requests this Court to invoke the pendent jurisdiction of this
Court, pursuant to Title 28, United States Code Section 1367, to consider claims
arising under state laws as these claims form part of the same case or controversy.

4. Venue is properly laid in the District Court of New Jersey pursuant to Title 28,
United States Code Sections 1391,

THE PARTIES

1. Plaintiff, Jean Picone, was at all times relevant to this Complaint, a resident of the
Township of Manchester, County of Ocean, State of New Jersey, and is a natural
person of the United States of America. Plaintiff Jean Picone resides at 2433
Steiner Road in Manchester Township, Ocean County, New Jersey.

2. Plaintiff, Joseph Picone, was at all times relevant to this Complaint, the lawful
spouse of Plaintiff Jean Picone. Plaintiff Joseph Picone is a natural person of the
United States of America, residing at 2433 Steiner Road in Manchester Township,
Ocean County, New Jersey.

3. Defendants, Bey Lea Care Center, 1351 Old Freehold Operations LLC and
Holdings LLC Genesis NJ are, upon information and belief business entities
organized and existing in the United States of America and, upon further
information and belief, operate and exist in and pursuant to the Laws of the State
of New Jersey. 1351 Old Freehold Operations LLC and/or Holdings LLC Genesis
NJ owns, leases, operates, has book rights for and/or has an equity interest in
Defendant Bey Lea Care Center.

4. Defendant Bey Lea Care Center is, upon information and belief, a wholly owned
subsidiary and/or partially owned subsidiary and/or alter ego of Defendant 1351
Old Freehold Operations LLC and/or Holdings LLC Genesis NJ and is a business
entity organized and existing in the United States of America and, upon further
information and belief, operates and exists in and pursuant to the Laws of the
State of New Jersey.

5. Defendants, Arnold Whitman and Steven Fishman are, upon information and
belief, natural persons of the State of New Jersey. Defendants, Arnold Whitman
and Steven Fishman, in whole or in part, own, operate, manage and/or serve as the
agent and/or registered agent for, the Defendants Bey Lea Care Center and/or
1351 Old Freehold Operations LLC and/or Holdings LLC Genesis NJ.

6. Defendants, Aristacare at Manchester and Aristacare at Manchester, LLC are,
upon information and belief business entities organized and existing in the United
Case 3:17-cv-04001-FLW-TJB Document 1 Filed 06/05/17 Page 3 of 27 PagelD: 3

States of America and, upon further information and belief, operate and exist in
and pursuant to the Laws of the State of New Jersey. Aristacare at Manchester,
LLC owns, leases, operates, has book rights for and/or has an equity interest in
Defendant Aristacare at Manchester.

7. Defendant Aristacare at Manchester is, upon information and belief, a wholly
owned subsidiary and/or partially owned subsidiary and/or alter ego of Defendant
Aristacare at Manchester, LLC and is a business entity organized and existing in
the United States of America and, upon further information and belief, operates
and exists in and pursuant to the Laws of the State of New Jersey.

8. Defendants, Benjamin Kurland, Morris Wiesel, Sidney Greenberger and Zvi
Klein are, upon information and belief, natural persons of the State of New Jersey.
Defendants, Benjamin Kurland, Morris Wiesel, Sidney Greenberger and Zvi
Klein, in whole or in part, own, operate, manage and/or serve as the agent and/or
registered agent for, the Aristacare at Manchester and/or Aristacare at
Manchester, LLC.

9. Defendants, Ocean Medical Center, Meridian Health and Hackensack Meridian
Health are, upon information and belief business entities organized and existing in
the United States of America and, upon further information and belief, operate
and exist in and pursuant to the Laws of the State of New Jersey. Meridian Health
and/or Hackensack Meridian Health owns, leases, operates, has book rights for
and/or has an equity interest in Defendant Ocean Medical Center.

10. Defendant Ocean Medical Center is, upon information and belief, a wholly owned
subsidiary and/or partially owned subsidiary and/or alter ego of Defendant
Meridian Health and/or Hackensack Meridian Health and is a business entity
organized and existing in the United States of America and, upon further
information and belief, operates and exists in and pursuant to the Laws of the
State of New Jersey.

11, Plaintiff alleges that an insufficient amount of time has passed within which to
determine the identity of any other persons, such as, but without limitation,
certain physicians, physician’s assistants, nurses, medical support personnel,
administrators, owners, operators and managers. In addition, Plaintiff alleges an
insufficient amount of time has passed to determine certain persons and/or certain
business entities that are charged with the ownership, operation, training,
supervision, contracting for and hiring of personnel employed by the named
Defendants. Pursuant to Rule, said persons and business entities have been named
as John Doe(s) 1-10, John Doe(s) 11-20 and John Doe(s) 21-30, fictitious persons
who names are unknown and ABC Corp(s)., 1-10, ABC Corp(s) 11-20 and ABC
Corp(s) 21-30, fictitious entities whose names are unknown. All said persons and
entities may be wholly or partially responsible for injuries, damages and losses
suffered by Plaintiff. Plaintiff reserves the right to amend the Complaint when and
if their identities become known.
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 4 of 27 PagelD: 4

COUNTT

MEDICAL MALPRACTICE AND NEGLIGENCE AS TO DEFENDANTS BEY
LEA VILLAGE CARE CENTER, 1351 OLD FREEHOLD OPERATIONS LLC,

HOLDINGS LLC GENESIS NJ, ARNOLD WHITMAN, STEVEN FISHMAN,
JOHN DOE(S) 1-10 AND ABC CORP(S) 1-10

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. On or about June 10, 2015, Jean Picone was admitted to Defendant Bey Lea
Village Care Centeras a resident at those premises for rehabilitation and nursing
care as she was disabled, bed bound and/or wheelchair bound.

3. Jean Picone was a resident of the long-term care facility known as Bey Lea
Village Care Centerfrom on or about June 10, 2015, through on or about July 3,
2015.

4. The Defendant, 1351 Old Freehold Operations LLCand/or Holdings LLC Genesis
NJ and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-10
and/or ABC Corp(s) 1-10, was the licensee of Bey Lea Village Care Center, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

5. The Defendant, 1351 Old Freehold Operations LLCand/or Holdings LLC Genesis
NJ and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-10
and/or ABC Corp(S) 1-10, was the owner of Bey Lea Village Care Center, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

6. The facility, Bey Lea Village Care Center, is located at 1351 Old Freehold Road,
Toms River, New Jersey 08753.

7. During her time as a resident at the premises of Defendant Bey Lea Village Care
Center, starting on approximately June 10, 2015 and continuing through July 3,
2015, Jean Picone developed bed sores / pressure ulcers throughout her body.

8. At all times relevant to this Complaint, the persons responsible for attending to
Jean Picone were acting as employees, agents, employee and/or servants of the
Defendants Bey Lea Village Care Center and/or 1351 Old Freehold Operations
LLCand/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or Steven
Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10.

9. At all times relevant to this Complaint, Defendant Bey Lea Village Care Center
was a “long term care facility” and/or “nursing home” and/or “residential health
care facility” and/or “comprehensive personal care home” and/or “skilled nursing
facility” and/or “rehabilitation center.”
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 5 of 27 PagelD: 5

10. It then and there became the duty and/or responsibility of defendants Bey Lea
Village Care Center and/or 1351 Old Freehold Operations LLC and/or Holdings
LLC Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John
Doe(s) 1-10 and/or ABC Corp(s) 1-10 to provide assistance and/or care and/or
treatment to Jean Picone consistent with that provided by a reasonably well-
qualified “long term care facility” and/or “nursing home” and/or “residential
health care facility” and/or “comprehensive personal care home” and/or “skilled
nursing facility” and/or “rehabilitation center” in the care of Jean Picone.

11. Since June 10, 2015 until her discharge on July 3, 2015, defendants Bey Lea
Village Care Center and/or 1351 Old Freehold Operations LLCand/or Holdings
LLC Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John
Doe(s) 1-10 and/or ABC Corp(s) 1-10 have breached their aforesaid duties and
responsibilities to provide assistance and/or care and/or treatment to Jean Picone
through one or more of the follow acts and/or omissions:

a. Neglecting to provide adequate medical or personal care or maintenance,
which failure resulted in Jean Picone’s physical or mental injury and
deterioration of her physical or mental condition including, but not limited
to, the development of bed sores / pressure ulcers and the infliction of
mechanical injuries;

b. Neglecting to provide adequate assistance to Jean Picone in her “personal
care”, including tending to her personal needs or maintenance or general
supervision and oversight of her physical and mental well-being;

c. Neglecting Jean Picone by failing to appropriately turn her over in her bed
and/or turn her in her chair, resulting in bed sores / pressure ulcers forming
on her body; and

d. Neglecting to properly provide adequate nursing home care, treatment and
service to Jean Picone in preventing the development of bed sores /
pressure ulcers forming on her body.

12. As a direct and proximate cause of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center and/or 1351 Old
Freehold Operations LLCand/or Holdings LLC Genesis NJ and/or Arnold
Whitman and/or Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-
10, Jean Picone was caused to suffer illnesses and injuries, including, but not
limited to, thedevelopment of bed sores / pressure ulcers throughout her body and
the infliction of mechanical injuries.

13. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants Bey Lea Village
Care Center and/or 1351 Old Freehold Operations LLCand/or Holdings LLC
Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 6 of 27 PagelD: 6

10 and/or ABC Corp(s) 1-10, Plaintiff was caused to sustain serious, painful and
permanent injuries to her body, including great physical and mental pain and
suffering.

14. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants Bey Lea Village
Care Center and/or 1351 Old Freehold Operations LLCand/or Holdings LLC
Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-
10 and/or ABC Corp(s) 1-10, Plaintiff, among other things, was forced to undergo
medical treatment, and, as a result, was obliged to expend sums of money for
medical, hospital and other care and treatment and was precluded from engaging
in her normal and usual pursuits and activities, among other injuries, losses and
damages.

15. Had the Defendants Bey Lea Village Care Center and/or 1351 Old Freehold
Operations LLCand/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10 followed the
appropriate and applicable standards of care, Plaintiff would not have suffered the
above-identified injuries, damages and losses.

16. The injuries, damages and losses herein complained of were directly and
proximately caused by the negligence and want of care of Defendants Bey Lea
Village Care Center and/or 1351 Old Freehold Operations LLCand/or Holdings
LLC Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John
Doe(s) 1-10 and/or ABC Corp(s) 1-10, with no negligence on the part of Plaintiff
contributing thereto.

WHEREFORE, Plaintiff, demands Judgment against Defendants, Defendants Bey
Lea Village Care Center, 1351 Old Freehold Operations LLC, Holdings LLC Genesis NJ,
Arnold Whitman, Steven Fishman, John Doe(s) 1-10 and ABC Corp(s) 1-10, jointly,
severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT II

MEDICAL MALPRACTICE AND NEGLIGENCE AS TO DEFENDANTS
ARISTACARE AT MANCHESTER, ARISTACARE AT MANCHESTER. LLC
BENJAMIN KURLAND, MORRIS WIESEL, SIDNEY GREENBERGER. ZVI

KLEIN, JOHN DOE(S) 11-20 & ABC CORP(S) 11-20 (FIRST ADMISSION)

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein
Case 3:17-cv-04001-FLW-TJB Document 1 Filed 06/05/17 Page 7 of 27 PagelD: 7

2. On or about July 24, 2015, Jean Picone was admitted to Defendant Aristacare at
Manchester as a resident at those premises for rehabilitation and nursing care as
she was disabled, bed bound and/or wheelchair bound.

3. Jean Picone was a resident of the long-term care facility known as Aristacare at
Manchester from on or about July 24, 2015, through on or about July 27, 2015.

4. The Defendant, Aristacare at Manchester, LLC and/or Benjamin Kurland and/or
Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John Doe(s)
11-20 and/or ABC Corp(s) 11-20, was the licensee of Aristcare at Manchester, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

5. The Defendant, Aristacare at Manchester, LLC and/or Benjamin Kurland and/or
Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John Doe(s)
11-20 and/or ABC Corp(s) 11-20, was the owner of Aristacare at Manchester, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

6. The facility, Aristacare at Manchester, is located at 1770 Tobias Avenue,
Manchester, New Jersey 08759.

7. During her time as a resident at the premises of Defendant Aristacare at
Manchester, starting on approximately July 24, 2015 and continuing through July
27, 2015, Jean Picone developed bed sores / pressure ulcers throughout her body.

8. At all times relevant to this Complaint, the persons responsible for attending to
Jean Picone were acting as employees, agents, employee and/or servants of the
Defendants, Aristacare at Manchester and/or Aristacare at Manchester, LLC
and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or
Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20.

9. Atall times relevant to this Complaint, Defendant Aristacare at Manchester was a
“long term care facility” and/or “nursing home” and/or “residential health care
facility” and/or “comprehensive personal care home” and/or “skilled nursing
facility” and/or “rehabilitation center.”

10. It then and there became the duty and/or responsibility of Defendants, Aristacare
at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20 to provide assistance and/or care and/or
treatment to Jean Picone consistent with that provided by a reasonably well-
qualified “long term care facility” and/or “nursing home” and/or “residential
health care facility” and/or “comprehensive personal care home” and/or “skilled
nursing facility” and/or “rehabilitation center” in the care of Jean Picone.
Case 3:17-cv-04001-FLW-TJB Document 1 Filed 06/05/17 Page 8 of 27 PagelD: 8

11. Since July 24, 2015 until her discharge on July 27, 2015, Defendants, Aristacare
at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20 have breached their aforesaid duties and
responsibilities to provide assistance and/or care and/or treatment to Jean Picone
through one or more of the follow acts and/or omissions:

a. Neglecting to provide adequate medical or personal care or maintenance,
which failure resulted in Jean Picone’s physical or mental injury and
deterioration of her physical or mental condition including, but not limited
to, the development of bed sores / pressure ulcers and the infliction of
mechanical injuries;

b. Neglecting to provide adequate assistance to Jean Picone in her “personal
care”, including tending to her personal needs or maintenance or general
supervision and oversight of her physical and mental well-being;

c. Neglecting Jean Picone by failing to appropriately turn her over in her bed
and/or turn her in her chair, resulting in bed sores / pressure ulcers forming
on her body; and

d. Neglecting to properly provide adequate nursing home care, treatment and
service to Jean Picone in preventing the development of bed sores /
pressure ulcers forming on her body.

12. As a direct and proximate cause of one or more of the negligent acts and/or
omissions of the Defendants, Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, Jean Picone was caused to suffer illnesses and injuries, including, but not
limited to, the development of bed sores / pressure ulcers throughout her body and
the infliction of mechanical injuries.

13. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants, Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, Plaintiff was caused to sustain serious,
painful and permanent injuries to her body, including great physical and mental
pain and suffering.

14. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants, Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, Plaintiff, among other things, was
Case 3:17-cv-04001-FLW-TJB Document 1 Filed 06/05/17 Page 9 of 27 PagelD: 9

forced to undergo medical treatment, and, as a result, was obliged to expend sums
of money for medical, hospital and other care and treatment and was precluded
from engaging in her normal and usual pursuits and activities, among other
injuries, losses and damages.

15. Had the Defendants, Aristacare at Manchester and/or Aristacare at Manchester,
LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger
and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20 followed
the appropriate and applicable standards of care, Plaintiff would not have suffered
the above-identified injuries, damages and losses.

16. The injuries, damages and losses herein complained of were directly and
proximately caused by the negligence and want of care of Defendants, Aristacare
at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, with no negligence on the part of
Plaintiff contributing thereto.

WHEREFORE, Plaintiff demands Judgment against Defendants, Aristacare at
Manchester, Aristacare at Manchester, LLC, Benjamin Kurland, Morris Wiesel,
Sidney Greenberger, Zvi Klein, John Doe(s) 11-20 and ABC Corp(s) 11-20, jointly,
severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT III

MEDICAL MALPRACTICE AND NEGLIGENCE AS TO DEFENDANTS
ARISTACARE AT MANCHESTER, ARISTACARE AT MANCHESTER, LLC,
BENJAMIN KURLAND, MORRIS WIESEL, SIDNEY GREENBERGER, ZVI
KLEIN, JOHN DOE(S) 11-20 & ABC CORP(S) 11-20 (SECOND ADMISSION)

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. On or about August 12, 2015, Jean Picone was admitted to Defendant Aristacare

at Manchester as a resident at those premises for rehabilitation and nursing care as
she was disabled, bed bound and/or wheelchair bound.

3. Jean Picone was a resident of the long-term care facility known as Aristacare at

Manchester from on or about August 12, 2015, through the date of her ultimate
and final discharge from that facility.
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 10 of 27 PagelD: 10

4. The Defendant, Aristacare at Manchester, LLC and/or Benjamin Kurland and/or
Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John Doe(s)
11-20 and/or ABC Corp(s) 11-20, was the licensee of Aristcare at Manchester, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

5. The Defendant, Aristacare at Manchester, LLC and/or Benjamin Kurland and/or
Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John Doe(s)
11-20 and/or ABC Corp(s) 11-20, was the owner of Aristacare at Manchester, the
nursing home in which Jean Picone resided at all times relevant to this Complaint.

6. The facility, Aristacare at Manchester, is located at 1770 Tobias Avenue,
Manchester, New Jersey 08759.

7. During her time as a resident at the premises of Defendant Aristacare at
Manchester, starting on approximately August 12, 2015, and continuing through
her ultimate discharge from the facility, Jean Picone developed bed sores /
pressure ulcers throughout her body.

8. At all times relevant to this Complaint, the persons responsible for attending to
Jean Picone were acting as employees, agents, employee and/or servants of the
Defendants, Aristacare at Manchester and/or Aristacare at Manchester, LLC
and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or
Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20.

9. Atall times relevant to this Complaint, Defendant Aristacare at Manchester was a
“long term care facility” and/or “nursing home” and/or “residential health care
facility” and/or “comprehensive personal care home” and/or “skilled nursing
facility” and/or “rehabilitation center.”

10. It then and there became the duty and/or responsibility of Defendants, Aristacare
at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20 to provide assistance and/or care and/or
treatment to Jean Picone consistent with that provided by a reasonably well-
qualified “long term care facility” and/or “nursing home” and/or “residential
health care facility” and/or “comprehensive personal care home” and/or “skilled
nursing facility” and/or “rehabilitation center” in the care of J ean Picone.

11. Since August 12, 2015, until her ultimate discharge from the facility, Defendants,
Aristacare at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin
Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or
John Doe(s) 11-20 and/or ABC Corp(s) 11-20 have breached their aforesaid
duties and responsibilities to provide assistance and/or care and/or treatment to
Jean Picone through one or more of the follow acts and/or omissions:

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Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 11 of 27 PagelD: 11

a. Neglecting to provide adequate medical or personal care or maintenance,
which failure resulted in Jean Picone’s physical or mental injury and
deterioration of her physical or mental condition including, but not limited
to, the development of bed sores / pressure ulcers and the infliction of

mechanical injuries;

b. Neglecting to provide adequate assistance to Jean Picone in her “personal
care”, including tending to her personal needs or maintenance or general
supervision and oversight of her physical and mental well-being;

c. Neglecting Jean Picone by failing to appropriately turn her over in her bed
and/or turn her in her chair, resulting in bed sores / pressure ulcers forming
on her body; and

d. Neglecting to properly provide adequate nursing home care, treatment and
service to Jean Picone in preventing the development of bed sores /
pressure ulcers forming on her body.

12. As a direct and proximate cause of one or more of the negligent acts and/or
omissions of the Defendants, Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, Jean Picone was caused to suffer illnesses and injuries, including, but not
limited to, the development of bed sores / pressure ulcers throughout her body and
the infliction of mechanical injuries.

13. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants, Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, Plaintiff was caused to sustain serious,
painful and permanent injuries to her body, including great physical and mental
pain and suffering.

14. As a direct and proximate cause of the above-described deviations of from the
applicable standards of care and breaches by the Defendants, Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, Plaintiff, among other things, was
forced to undergo medical treatment, and, as a result, was obliged to expend sums
of money for medical, hospital and other care and treatment and was precluded
from engaging in her normal and usual pursuits and activities, among other
injuries, losses and damages.

15. Had the Defendants, Aristacare at Manchester and/or Aristacare at Manchester,
LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger

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Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 12 of 27 PagelD: 12

and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20 followed
the appropriate and applicable standards of care, Plaintiff would not have suffered

the above-identified injuries, damages and losses.

16. The injuries, damages and losses herein complained of were directly and
proximately caused by the negligence and want of care of Defendants, Aristacare
at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, with no negligence on the part of
Plaintiff contributing thereto.

WHEREFORE, Plaintiff demands Judgment against Defendants, Aristacare at
Manchester, Aristacare at Manchester, LLC, Benjamin Kurland, Morris Wiesel,
Sidney Greenberger, Zvi Klein, John Doe(s) 11-20 and ABC Corp(s) 11-20, jointly,
severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT IV

MEDICAL MALPRACTICE AND NEGLIGENCE AS TO DEFENDANTS
OCEAN MEDICAL CENTER, MERIDIAN HEALTH, HACKENSACK
MERIDIAN HEALTH, JOHN DOE(S) 21-30 & ABC CORP(S) 21-30 (FIRST

ADMISSION)

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. Onor about July 13, 2015, and continuing through July 24, 2015, the Plaintiff was
a patient of and at the business owned and/or operated and/or controlled and/or
leased by the Defendants, Ocean Medical Center and/or Meridian Health and/or
Hackensack Meridian Health and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-

30, located at 425 Jack Martin Boulevard, Township of Brick, County of Ocean
and State of New Jersey.

3. At said time and place, while Plaintiff was a patient of the Defendants, Ocean
Medical Center and/or Meridian Health and/or Hackensack Meridian Health
and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-30, she was caused to suffer

injury due to the negligence of the Defendants and/or unknown agents of said
Defendants.

12
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 13 of 27 PagelD: 13

4. Defendants, Ocean Medical Center and/or Meridian Health and/or Hackensack
Meridian Health and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-30, were

negligent in that:

(a) they failed to diagnose and treat a medical condition suffered by Plaintiff
Jean Picone, for which she sought treatment;

(b) they did not exercise proper care; ]

(c) they deviated from the accepted standards of the medical profession; and

(d) they were otherwise negligent.

5. As a result of the negligence of the Defendants, Ocean Medical Center and/or
Meridian Health and/or Hackensack Meridian Health and/or John Doe(s) 21-30
and/or ABC Corp(s) 21-30, the Plaintiff was caused to suffer and sustain severe

and permanent injuries.

WHEREFORE, Plaintiff demands Judgment against Defendants, Ocean Medical
Center, Meridian Health, Hackensack Meridian Health John Doe(s) 21-30 and ABC
Corp(s) 21-30, jointly, severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT V

MEDICAL MALPRACTICE AND NEGLIGENCE AS TO DEFENDANTS
OCEAN MEDICAL CENTER, MERIDIAN HEALTH HACKENSACK
MERIDIAN HEALTH, JOHN DOE(S) 21-30 & ABC CORP(S) 21-30 (SECOND

ADMISSION)

6. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

7. On or about July 27, 2015 and continuing through August 12, 2015, the Plaintiff
was a patient of and at the business owned and/or operated and/or controlled
and/or leased by the Defendants, Ocean Medical Center and/or Meridian Health
and/or Hackensack Meridian Health and/or John Doe(s) 21-30 and/or ABC
Corp(s) 21-30, located at 425 Jack Martin Boulevard, Township of Brick, County
of Ocean and State of New Jersey.

8. At said time and place, while Plaintiff was a patient of the Defendants, Ocean
Medical Center and/or Meridian Health and/or Hackensack Meridian Health
and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-30, she was caused to suffer

injury due to the negligence of the Defendants and/or unknown agents of said
Defendants.

13
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 14 of 27 PagelD: 14

9. Defendants, Ocean Medical Center and/or Meridian Health and/or Hackensack
Meridian Health and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-30, were

negligent in that:

(a) they failed to diagnose and treat a medical condition suffered by Plaintiff
Jean Picone, for which she soughttreatment;

(b) they did not exercise proper care;

(c) they deviated from the accepted standards of the medical profession; and

(d) they were otherwise negligent.

10. As a result of the negligence of the Defendants, Ocean Medical Center and/or
Meridian Health and/or Hackensack Meridian Health and/or John Doe(s) 21-30
and/or ABC Corp(s) 21-30, the Plaintiff was caused to suffer and sustain severe
and permanent injuries.

WHEREFORE, Plaintiff demands Judgment against Defendants, Ocean Medical
Center, Meridian Health, Hackensack Meridian Health John Doe(s) 21-30 and ABC
Corp(s) 21-30, jointly, severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT VI

NEW JERSEY NURSING HOME RESPONSIBILITIES & RIGHTS OF
RESIDENTS ACT (“NHRRRA”) AS TO DEFENDANTS BEY LEA VILLAGE
CARE CENTER, 1351 OLD FREEHOLD OPERATIONS LLC HOLDINGS LLC
GENESIS NJ, ARNOLD WHITMAN, STEVEN F ISHMAN, JOHN DOK(S) 1-10
AND ABC CORP(S) 1-10

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. Atall times relevant to this Complaint, there was in full force and effect a statute,

known as the New Jersey Nursing Home Responsibilities & Rights of Residents
Act (“NHRRRA”), N.J.S.A, 30:13-1, ef seq.

3. At all times relevant to this Complaint, Defendant Bey Lea Village Care Center,
owned, operated and or managed by the Defendants 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, was a

14
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 15 of 27 PagelD: 15

“facility” as defined by the New Jersey NHRRRA, and was subject to the
requirements of the Act and the regulations promulgated pursuant to the Act.

4. The aforementioned acts and omissions of the Defendants Bey Lea Village Care
Center, 1351 Old Freehold Operations LLC and/or Holdings LLC Genesis NJ
and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-10 and/or
ABC Corp(s) 1-10, constituted breaches of the duties of said Defendants under
the New Jersey Nursing Home Responsibilities and Rights of Residents Act and
the administrative regulations promulgated pursuant thereto.

5. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
the New Jersey Nursing Home Responsibilities and Rights of Residents Act and
the administrative regulations promulgated pursuant thereto, Plaintiff was caused
to suffer illnesses, including, but not limited to, developing bed sores / pressure
ulcers throughout her body and the infliction of mechanical injuries.

6. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Armold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
the New Jersey Nursing Home Responsibilities and Rights of Residents Act and
the administrative regulations promulgated pursuant thereto, Plaintiff was,
Plaintiff was caused to sustain serious, painful and permanent injuries to her body,
including great physical and mental pain and suffering,

7. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
the New Jersey Nursing Home Responsibilities and Rights of Residents Act and
the administrative regulations promulgated pursuant thereto, Plaintiff was, among
other things, was forced to undergo medical treatment, and, as a result, was
obliged to expend sums of money for medical, hospital and other care and
treatment and was precluded from engaging in her normal and usual pursuits and
activities, among other injuries, losses and damages.

WHEREFORE, Plaintiff demands Judgment against Defendants,
Defendants Bey Lea Village Care Center, 1351 Old Freehold Operations LLC,
Holdings LLC Genesis NJ, Arnold Whitman, Steven Fishman, John Doe(s) 1-10
and ABC Corp(s) 1-10, jointly, severally or in the alternative, for:

(a) Compensatory damages;
(b) Interest;

15
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 16 of 27 PagelD: 16

(c) Costs of Suit; and
(d) Whatever other relief this Court deems just and equitable.

COUNT Vil

NEW JERSEY NURSING HOME RESPONSIBILITIES & RIGHTS OF
RESIDENTS ACT (“NHRRRA”) AS TO DEFENDANTS ARISTACARE AT

MANCHESTER, ARISTACARE AT MANCHESTER, LLC, BENJAMIN
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URLAND, MORRIS WIESEL, SIDNEY GREENBERGER, ZVI KLEIN, JOHN

K ;
DOE(S) 11-20 & ABC CORP(S) 11-20

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. Atall times relevant to this Complaint, there was in full force and effect a statute,
known as the New Jersey Nursing Home Responsibilities & Rights of Residents
Act (“NHRRRA”), N.J.S.A. 30:13-1, ef seq.

3. At all times relevant to this Complaint, Defendant Aristacare at Manchester,
owned, operated and or managed by the Aristacare at Manchester, LLC and/or
Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi
Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20, was a “facility” as
defined by the New Jersey NHRRRA, and was subject to the requirements of the
Act and the regulations promulgated pursuant to the Act.

4. The aforementioned acts and omissions of the Defendants Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, constituted breaches of the duties of
said Defendants under the New Jersey Nursing Home Responsibilities and Rights
of Residents Act and the administrative regulations promulgated pursuant thereto.

5. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, in violating the New Jersey Nursing Home Responsibilities and Rights of
Residents Act and the administrative regulations promulgated pursuant thereto,
Plaintiff was caused to suffer illnesses, including, but not limited to, developing
bed sores / pressure ulcers throughout her body and the infliction of mechanical
injuries,

6. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-

16
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 17 of 27 PagelD: 17

20, in violating the New Jersey Nursing Home Responsibilities and Rights of
Residents Act and the administrative regulations promulgated pursuant thereto,
Plaintiff was, Plaintiff was caused to sustain serious, painful and permanent
injuries to her body, including great physical and mental pain and suffering.

7. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, in violating the New Jersey Nursing Home Responsibilities and Rights of
Residents Act and the administrative regulations promulgated pursuant thereto,
Plaintiff was, among other things, was forced to undergo medical treatment, and,
as a result, was obliged to expend sums of money for medical, hospital and other
care and treatment and was precluded from engaging in her normal and usual
pursuits and activities, among other injuries, losses and damages.

WHEREFORE, Plaintiff demands Judgment against Defendants, Aristacare at
Manchester, Aristacare at Manchester, LLC, Benjamin Kurland, Morris Wiesel,
Sidney Greenberger, Zvi Klein, John Doe(s) 11-20 and ABC Corp(s) 11-20, jointly,
severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems Just and equitable.

COUNT VIII

OMNIBUS BUDGET RECONCILIATION ACT (“OBRA”) AND OBRA
REGULATIONS, AND THE FEDERAL NURSING HOME REFORM ACT
~FNHRA”), AND FNHRA REGULATIONS, AND THE MEDICARE
SECONDARY PAYER ACT (“MSPA”) AS TO DEFENDANTS BEY LEA
VILLAGE CARE CENTER, 1351 OLD F REEHOLD OPERATIONS LLC

HOLDINGS LLC GENESIS NJ, ARNOLD WHITMAN, STEVEN FISHMAN,
JOHN DOK(S) 1-10 AND ABC CORP(S) 1-10

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. At all times relevant to this Complaint, Plaintiff was a recipient of Medicare
and/or Medicaid and utilized her Medicare and/or Medicaid Benefits, in whole or

in part, in connection with the facility placement and medical treatment outlined
herein above.

17
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 18 of 27 PagelD: 18

3. At all times relevant to this Complaint, Defendant Bey Lea Village Care Center,
owned, operated and or managed by the Defendants 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, were subject
to the requirements of provisions of the Omnibus Budget Reconciliation Act of
1987 (“OBRA”) and volume 42 of the Federal Regulations, Part 483, setting forth
requirements for long-term care facilities (OBRA regulations), as effective on
October 1, 1990; as well as the Federal Nursing Home Reform Act (“FNHRA”)
and the regulations promulgated pursuant thereto; as well as the Medicare
Secondary Payer Act (“MSPA”); including but not limited to those parts of the
Statutes as codified in 42 U.S.C. § 1395i-3, 42 U.S.C. § 1396r & 42 U.S.C. §

1395y(b).

4. Atall times relevant to this Complaint, Defendants Bey Lea Village Care Center,
1351 Old Freehold Operations LLC and/or Holdings LLC Genesis NJ and/or
Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-10 and/or ABC
Corp(s) 1-10, operated pursuant to a relationship with the State of New Jersey
and/or the United States of America that rendered those defendants to be state
actors, operating under color of state law, when rendering services and treatment
to the Plaintiff.

5. Because the Defendants enumerated herein are state actors, enforcement of their
violations of the aforementioned Statutes and Regulations is permitted pursuant to
42 U.S.C. § 1983.

6. The aforementioned Statutes and Regulations otherwise provide for a private right
of action.

7. At all times relevant to this Complaint, Defendant Bey Lea Village Care Center,
owned, operated and or managed by the Defendants 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, was a
“nursing facility” as defined by 42 U.S.C. § 1396r.

8. The aforementioned acts and omissions of the Defendants Bey Lea Village Care
Center, 1351 Old Freehold Operations LLC and/or Holdings LLC Genesis NJ
and/or Arnold Whitman and/or Steven Fishman and/or John Doe(s) 1-10 and/or
ABC Corp(s) 1-10, constituted breaches of the duties of said Defendants under
OBRA and pursuant to OBRA regulations; under FNHRA and pursuant to OBRA
regulations; and under the MSPA and pursuant to MSPA regulations.

9. The aforementioned acts and omissions by the identified Defendants constitutes a
deliberate indifference for the health, safety and wellbeing of the Plaintiff and,
further, demonstrates the employment of a policy and custom by these Defendants
to deprive the Plaintiff of her civil rights.

18
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 19 of 27 PagelD: 19

10. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
OBRA and/or FNHRA and/or MSPA and the regulations promulgated pursuant
thereto, Plaintiff was caused to suffer illnesses, including, but not limited to,
developing bed sores / pressure ulcers throughout her body and the infliction of
mechanical injuries.

11. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
OBRA and/or FNHRA and/or MSPA and the regulations promulgated pursuant
thereto, Plaintiff was, Plaintiff was caused to sustain serious, painful and
permanent injuries to her body, including great physical and mental pain and
suffering.

12. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
OBRA and/or FNHRA and/or MSPA and the regulations promulgated pursuant
thereto, Plaintiff was, among other things, was forced to undergo medical
treatment, and, as a result, was obliged to expend sums of money for medical,
hospital and other care and treatment and was precluded from engaging in her
normal and usual pursuits and activities, among other injuries, losses and
damages.

WHEREFORE, Plaintiff demands Judgment against Defendants Bey Lea
Village Care Center, 1351 Old Freehold Operations LLC, Holdings LLC Genesis
NJ, Arnold Whitman, Steven Fishman, John Doe(s) 1-10 and ABC Corp(s) 1-10,
jointly, severally or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

19
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 20 of 27 PagelD: 20

COUNT Ix

OMNIBUS BUDGET RECONCILIATION ACT (“OBRA”) AND OBRA
REGULATIONS, AND THE FEDERAL NURSING HOME REFORM ACT
(“FNHRA”), AND FNHRA REGULATIONS, AND THE MEDICARE
SECONDARY PAYER ACT (“MSPA”)AS TO DEFENDANTS ARISTACARE AT

MANCHESTER, ARISTACARE AT MANCHESTER, LLC, BENJAMIN

KURLAND, MORRIS WIESEL, SIDNEY GREENBERGER, ZVI KLEIN, JOHN
DOKE(S) 11-20 & ABC CORP(S) 11-20

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein

2. At all times relevant to this Complaint, Plaintiff was a recipient of Medicare
and/or Medicaid and utilized her Medicare and/or Medicaid Benefits, in whole or
in part, in connection with the facility placement and medical treatment outlined

herein above.

3. At all times relevant to this Complaint, Defendant Aristacare at Manchester,
owned, operated and or managed by the Defendants Aristacare at Manchester,
LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger
and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20, were
subject to the requirements of provisions of the Omnibus Budget Reconciliation
Act of 1987 (“OBRA”) and volume 42 of the Federal Regulations, Part 483,
setting forth requirements for long-term care facilities (OBRA regulations), as
effective on October 1, 1990; as well as the Federal Nursing Home Reform Act
(“FNHRA”) and the regulations promulgated pursuant thereto; as well as the
Medicare Secondary Payer Act (“MSPA”); including but not limited to those
parts of the Statutes as codified in 42 U.S.C. § 1395i-3, 42 U.S.C. § 1396r & 42
U.S.C. § 1395y(b).

4. At all times relevant to this Complaint, Defendant Aristacare at Manchester,
Aristacare at Manchester, LLC, Benjamin Kurland, Morris Wiesel, Sidney
Greenberger, Zvi Klein, John Doe(s) 11-20 and/or ABC Corp(s) 11-20, operated
pursuant to a relationship with the State of New Jersey and/or the United States of
America that rendered those defendants to be State actors, operating under color
of state law, when rendering services and treatment to the Plaintiff.

5. Because the Defendants enumerated herein are state actors, enforcement of their
violations of the aforementioned Statutes and Regulations is permitted pursuant to
42 U.S.C. § 1983.

6. The aforementioned Statutes and Regulations otherwise provide for a private right
of action.

20
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 21 of 27 PagelD: 21

7. At all times relevant to this Complaint, Defendant Aristacare at Manchester,
owned, operated and or managed by the Defendants Aristacare at Manchester,
LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney Greenberger
and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-20, was a
“nursing facility” as defined by 42 U.S.C. § 1396r.

8. The aforementioned acts and omissions of the Defendant Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland
and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John
Doe(s) 11-20 and/or ABC Corp(s) 11-20, constituted breaches of the duties of
said Defendants under OBRA and pursuant to OBRA regulations; under FNHRA
and pursuant to OBRA regulations; and under the MSPA and pursuant to MSPA
regulations.

9. The aforementioned acts and omissions by the identified Defendants constitutes a
deliberate indifference for the health, safety and wellbeing of the Plaintiff and,
further, demonstrates the employment of a policy and custom by these Defendants
to deprive the Plaintiff of her civil rights.

10. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendant Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, in violating OBRA and/or FNHRA and/or MSPA and the regulations
promulgated pursuant thereto, Plaintiff was caused to suffer illnesses, including,
but not limited to, developing bed sores / pressure ulcers throughout her body and
the infliction of mechanical injuries.

11. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendant Aristacare at Manchester and/or Aristacare at
Manchester, LLC and/or Benjamin Kurland and/or Morris Wiesel and/or Sidney
Greenberger and/or Zvi Klein and/or John Doe(s) 11-20 and/or ABC Corp(s) 11-
20, in violating OBRA and/or FNHRA and/or MSPA and the regulations
promulgated pursuant thereto, Plaintiff was, Plaintiff was caused to sustain
serious, painful and permanent injuries to her body, including great physical and
mental pain and suffering.

12. As a direct and proximate result of one or more of the negligent acts and/or
omissions of the Defendants Bey Lea Village Care Center, 1351 Old Freehold
Operations LLC and/or Holdings LLC Genesis NJ and/or Arnold Whitman and/or
Steven Fishman and/or John Doe(s) 1-10 and/or ABC Corp(s) 1-10, in violating
OBRA and/or FNHRA and/or MSPA and the regulations promulgated pursuant
thereto, Plaintiff was, among other things, was forced to undergo medical
treatment, and, as a result, was obliged to expend sums of money for medical,
hospital and other care and treatment and was precluded from engaging in her

21
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 22 of 27 PagelD: 22

normal and usual pursuits and activities, among other injuries, losses and
damages.

WHEREFORE, Plaintiff demands Judgment against Defendants
Aristacare at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin
Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or
John Doe(s) 11-20 and/or ABC Corp(s) 11-20, jointly, severally or in the
alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT x

PIERCING THE CORPORATE VEIL AS TO DEFENDANTS BEY LEA
VILLAGE CARE CENTER, 1351 OLD FREEHOLD OPERATIONS LLC
HOLDINGS LLC GENESIS NJ, ARNOLD WHITMAN, STEVEN
FISHMAN, JOHN DOE(S) 1-10 AND ABC CORP(S) 1-10

I. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. There is no clear distinction between Defendants Bey Lea Village Care
Center; 1351 Old Freehold Operations LLC; Holdings LLC Genesis NJ;
Arnold Whitman; Steven Fishman; John Doe(s) 1-10 and/or ABC Corp(S) 1-
10.

3. Defendants Bey Lea Village Care Center; 1351 Old Freehold Operations
LLC; Holdings LLC Genesis NJ; Arnold Whitman; Steven Fishman; John
Doe(s) 1-10 and ABC Corp(S) 1-10 are inadequately capitalized and the
business forms were used to merely evade responsibility,

4. The business entities were created to defeat public convenience, justify wrong,
protect fraud or defend a crime.

5. Fraud or injustice will occur if the business entities are not disregarded.

WHEREFORE, Plaintiff, demands Judgment against Defendants Bey
Lea Village Care Center, 1351 Old Freehold Operations LLC, Holdings LLC
Genesis NJ, Arnold Whitman, Steven Fishman, John Doe(s) 1-10 and ABC
Corp(s) 1-10, jointly, severally or in the alternative, for:

(a) Piercing the Corporate Veil;

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Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 23 of 27 PagelD: 23

(b) Compensatory damages;

(b) Interest;

© Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT XI

PIERCING THE CORPORATE VEIL AS TO DEFENDANTS
ARISTACARE AT MANCHESTER, ARISTACARE AT MANCHESTER,
LLC, BENJAMIN KURLAND, MORRIS WIESEL, SIDNEY
GREENBERGER, ZVI KLEIN, JOHN DOK(S) 11-20 & ABC CORP(S) 11-
20

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. There is no clear distinction between Defendants Aristacare at Manchester;
Aristacare at Manchester, LLC; Benjamin Kurland: Morris Wiesel; Sidney
Greenberger; Zvi Klein; John Doe(s) 11-20 and/or ABC Corp(s) 11-20.

3. Defendants Aristacare at Manchester; Aristacare at Manchester, LLC;
Benjamin Kurland; Morris Wiesel; Sidney Greenberger; Zvi Klein; John
Doe(s) 11-20 and ABC Corp(s) 11-20 are inadequately capitalized and the
business forms were used to merely evade responsibility.

4. The business entities were created to defeat public convenience, justify wrong,
protect fraud or defend a crime.

5. Fraud or injustice will occur if the business entities are not disregarded.

WHEREFORE, Plaintiff demands Judgment against Defendants Aristacare at
Manchester and/or Aristacare at Manchester, LLC and/or Benjamin Kurland and/or
Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or John Doe(s) 11-20
and/or ABC Corp(s) 11-20, jointly, severally or in the alternative, for:

(a) Piercing the Corporate Veil:

(b) Compensatory damages;

(c) Interest;

(d) Costs of Suit; and

(¢) Whatever other relief this Court deems just and equitable.

23
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 24 of 27 PagelD: 24

COUNT Xi

PIERCING THE CORPORATE VEIL AS TO DEFENDANTS OCEAN

MEDICAL CENTER, MERIDIAN HEALTH, HACKENSACK MERIDIAN
HEALTH, JOHN DOE(S) 21-30 & ABC CORP(S) 21-30

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. There is no clear distinction between Defendants Ocean Medical Center; Meridian
Health; Hackensack Meridian Health; John Doe(s) 21-30 and/or ABC Corp(s) 21-
30.

3. Defendants Ocean Medical Center; Meridian Health; Hackensack Meridian
Health; John Doe(s) 21-30 and/or ABC Corp(s) 21-30 are inadequately
capitalized and the business forms were used to merely evade responsibility.

4. The business entities were created to defeat public convenience, justify wrong,
protect fraud or defend a crime.

5. Fraud or injustice will occur if the business entities are not disregarded.

WHEREFORE, Plaintiff demands Judgment against Defendants, Ocean Medical
Center, Meridian Health, Hackensack Meridian Health John Doe(s) 21-30 and ABC
Corp(s) 21-30, jointly, severally or in the alternative, for:

(a) Piercing the Corporate Veil;

(b) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT XII
PER QUOD / LOSS OF CONSORTIUM AS TO ALL DEFENDANTS

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. At all times relevant to this action, Plaintiff, Joseph Picone, was and is the lawful
spouse of the Plaintiff, Jean Picone, and, as such, is entitled to her services,
society and consortium.

3. Solely because of the negligence of the Defendants described above, jointly,
severally or in the alternative,resulting in injuries to the Plaintiff, Jean Picone,

24
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 25 of 27 PagelD: 25

Plaintiff, Joseph Picone, became deprived of the services, society, and consortium
of the Plaintiff, Jean Picone.

4. Asa result of the injuries suffered by the Plaintiff, Jean Picone, Plaintiff Joseph
Picone has and still will in the future, be required to provide special services and
care for Jean Picone.

WHEREFORE, Plaintiffs demand Judgment against Defendants, jointly, severally
or in the alternative, for:

(a) Piercing the Corporate Veil;

(b) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT XIV
AGENCY

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. Defendants, John Doe(s) 1-10 and ABC Corp(s) 1-10, were at all times mentioned
herein duly appointed and/or duly hired and/or duly contracted and acting
members and/or employees and/or contracted persons of the Defendants Bey Lea
Village Care Center and/or 1351 Old Freehold Operations LLCand/or Holdings
LLC Genesis NJ and/or Arnold Whitman and/or Steven Fishman and/or John
Doe(s) 1-10 and/or ABC Corp(s) 1-10, and at all times herein were acting in such
capacities as the agents, servants and/or employees of said entities.

3. Defendants, John Doe(s) 11-20 and ABC Corp(s) 11-20, were at all times
mentioned herein duly appointed and/or duly hired and/or duly contracted and
acting members and/or employees and/or contracted persons of the Defendants
Aristacare at Manchester and/or Aristacare at Manchester, LLC and/or Benjamin
Kurland and/or Morris Wiesel and/or Sidney Greenberger and/or Zvi Klein and/or
John Doe(s) 11-20 and/or ABC Corp(s) 11-20, and at all times herein were acting
in such capacities as the agents, servants and/or employees of said entities.

4. Defendants, John Doe(s) 21-30 and ABC Corp(s) 21-30, were at all times
mentioned herein duly appointed and/or duly hired and/or duly contracted and
acting members and/or employees and/or contracted persons of the Defendants
Ocean Medical Center and/or Meridian Health and/or Hackensack Meridian
Health and/or John Doe(s) 21-30 and/or ABC Corp(s) 21-30, and at all times
herein were acting in such capacities as the agents, servants and/or employees of
said entities,

25
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 26 of 27 PagelD: 26

5. The actions of Defendants were negligent and contrary to the Laws of the State of
New Jersey and the United States and of Common Law as set forth herein above.

6. Defendants are liable for the negligent and/or intentional acts of its agents,
servants and/or employees by virtue of the doctrine of respondeat superior.

7. Asa result of the negligent and intentional conduct set forth above, Plaintiff
sustained diverse personal injuries together with pain and suffering.

WHEREFORE, Plaintiffs, demand Judgment against Defendants, jointly, severally
or in the alternative, for:

(a) Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) Whatever other relief this Court deems just and equitable.

COUNT XV
PUNITIVE DAMAGES

1. Plaintiff repeats and realleges all allegations asserted above as if set forth at
length herein.

2. The acts of Defendants as averred herein were willful, wanton, malicious,
intentional and/or evidenced a reckless disregard to the rights, health and safety of
the Plaintiffs.

WHEREFORE, Plaintiffs demand Judgment against Defendants, jointly, severally
or in the alternative, for:

(a) Punitive damages;

(b) | Compensatory damages;

(b) Interest;

(c) Costs of Suit; and

(d) | Whatever other relief this Court deems just and equitable.

DASTI, MURPHY, McGUCKIN, ULAKY
KOUTSOURIS & CONNORS
Attorneys for Plaintiffs

BY: /S/CHRISTOPHER K. KOUTSOURIS

CHRISTOPHER K. KOUTSOURIS, ESQUIRE
DATED: June 5, 2017 (CK-7552)

26
Case 3:17-cv-04001-FLW-TJB Document1 Filed 06/05/17 Page 27 of 27 PagelD: 27

DESIGNATION OF TRIAL COUNSEL

Christopher K. Koutsouris, Esquire, is hereby designated as trial counsel on

behalf of the Plaintiffs.

BY:

DATED: June 5, 2017

DASTI, MURPHY, McGUCKIN, ULAKY
KOUTSOURIS & CONNORS
Attorneys for Plaintiffs

/S/ CHRISTOPHER K. KOUTSOURIS
CHRISTOPHER K. KOUTSOURIS, ESQUIRE
(CK-7552)

JURY DEMAND

PLEASE TAKE NOTICE that the Plaintiffs hereby demand a trial by jury on all
the issues so triable pursuant to Federal Rule of Civil Procedure 38(b).

BY:

DATED: June 5, 2017

DASTI, MURPHY, McGUCKIN, ULAKY
KOUTSOURIS & CONNORS
Attorneys for Plaintiffs

/S/ CHRISTOPHER K. KOUTSOURIS
CHRISTOPHER K. KOUTSOURIS, ESQUIRE
(CK-7552)

CERTIFICATION PURSUANT LOCAL RULE 11.2

I hereby certify that to the best of my personal knowledge that the within claims
of Plaintiff are not the subject of any other action pending in any court or arbitration
proceeding and no other action is contemplated. Plaintiff further certifies that no parties
are known who should be joined in the within action.

BY:

DATED: June 5, 2017

DASTI, MURPHY, McGUCKIN, ULAKY
KOUTSOURIS & CONNORS
Attorneys for Plaintiffs

/S/ CHRISTOPHER K. KOUTSOURIS
CHRISTOPHER K. KOUTSOURIS, ESQUIRE
(CK-7552)

27
